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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARIA MENDIZABAL, on behalf of herself
and all others similarly situated

                         Plaintiffs,
                                                         CLASS ACTION COMPLAINT
                                                            AND JURY DEMAND
                   –against–


FLAT RATE MOVERS, LTD.

                         Defendant.

                                        INTRODUCTION

1. The plaintiff, Maria Mendizabal, and on behalf of all other persons similarly situated, asserts

   the following claims against the defendant FLAT RATE MOVERS, LTD.

2. The plaintiff is a visually-impaired and legally blind person who requires screen-reading

   software to read website content using her computer. The plaintiff uses the terms “blind” or

   “visually-impaired” to refer to all people with visual impairments who meet the legal definition

   of blindness in that they have a visual acuity with correction of less than or equal to 20/200.

   Some blind people who meet this definition have limited vision. Others have no vision.

3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United

   States are visually impaired, including 2.0 million who are blind, and according to the

   American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

   persons live in the State of New York.

4. The plaintiff brings this civil rights action against the defendant for the its failure to design,

   construct, maintain, and operate its website to be fully accessible to and independently usable

   by the plaintiff and other blind or visually-impaired people. The defendant’s denial of full and

   equal access to its website, and therefore denial of its Products and services offered thereby



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   and in conjunction with its physical locations, is a violation of the plaintiff’s rights under the

   Americans with Disabilities Act (ADA).

5. Because the defendant’s website is not equally accessible to blind and visually-impaired

   consumers, it violates the ADA. The plaintiff seeks a permanent injunction to cause a change

   in the defendant’s corporate policies, practices, and procedures so that the defendant’s website

   will become and remain accessible to blind and visually-impaired consumers

                                 JURISDICTION AND VENUE

6. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42

   U.S.C. § 12181, as the plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181,

   et seq., and 28 U.S.C. § 1332.

7. This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the plaintiff’s New York

   State Human Rights Law, N.Y. Exec. Law article 15, (NYSHRL), New York State Civil Rights

   Law article 4 (NYSCRL), and New York City Human Rights Law, N.Y.C. Admin. Code § 8-

   101, et seq., (NYCHRL) claims.

8. Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because the plaintiff resides

   in this district, the defendant conducted and continue to conduct a substantial and significant

   amount of business in this district, the Defendant is subject to personal jurisdiction in this

   district, and a substantial portion of the conduct complained of herein occurred in this district.

9. The defendant is subject to personal jurisdiction in this district. The defendant committed and

   continue to commit the acts or omissions alleged herein in this district that caused injury, and

   violated rights the ADA prescribes to the plaintiff and to other blind and visually-impaired

   consumers. A substantial part of the acts and omissions giving rise to the plaintiff’s claims

   occurred in this district: on separate occasions, the plaintiff has been denied the full use and



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   enjoyment of the facilities, goods, and services of the defendant’s website in this district. These

   access barriers that the plaintiff encountered have caused a denial of the plaintiff’s full and equal

   access in the past, and now deter the plaintiff on a regular basis from visiting the defendant’s

   premises. This includes the plaintiff attempting to obtain information about the Defendant’s

   location(s) (address and hours) in this district as well as other important information.

10. This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and 2202.

                                             PARTIES

11. The plaintiff, Maria Mendizabal, at all relevant times, is a resident of New York County. The

   plaintiff is a blind, visually-impaired, handicapped person and a member of a protected class

   of individuals under the ADA, 42 U.S.C. § 12102(1)-(2), and the regulations implementing the

   ADA set forth at 28 CFR § 36.101, et seq., the NYSHRL, and NYCHRL.

12. The defendant FLAT RATE MOVERS, LTD. is and was at all relevant times a New York

   Domestic Business Corporation licensed to do business and does business in the State of New

   York.

13. The defendant operates www.flatrate.com and its website, and advertises, markets, distributes

   and sells packing supplies such as bubble wrap, tape and related packaging, moving and

   storage materials and provides a storage service at its location(s) (hereinafter its “Products”

   and/or its “Services”) in the State of New York and throughout the United States.

14. The defendant operates locations across the United States, including its location(s) in New

   York City, one of which bearing an address of 555 West 25th Street, 3rd Floor,

   New York, NY 10001.




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15. The defendant’s premises provide to the public important goods and services. The defendant’s

   website provides consumers with access to information about location addresses and hours,

   services offered and services available for online purchase.

16. These locations constitute places of public accommodation. The defendant’s locations are

   public accommodations within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

   The defendant’s website is a service, privilege, or advantage that is heavily integrated with the

   defendant’s physical locations and operates as a gateway thereto.

                                     NATURE OF ACTION

17. The Internet has become a significant source of information, a portal, and a tool for conducting

   business, doing everyday activities such as shopping, learning, banking, researching, as well

   as many other activities for sighted, blind and visually-impaired persons alike.

18. In today’s tech-savvy world, blind and visually-impaired people can access websites using

   keyboards in conjunction with screen access software that vocalizes the visual information

   found on a computer screen or displays the content on a refreshable Braille display. This

   technology is known as screen-reading software. Screen-reading software is currently the only

   method a blind or visually-impaired person may independently access the internet. Unless

   websites are designed to be read by screen-reading software, blind and visually-impaired

   persons are unable to fully access websites, and the information, Products, and services

   contained thereon. An accessibility notice is put on a website by the creator thereof to showcase

   that the website is working diligently to create a better experience for low-vision or blind users.

19. Blind and visually-impaired users of Windows operating system-enabled computers and

   devices have several screen-reading software programs available to them. Some of these

   programs are available for purchase and other programs are available without the user having



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   to purchase the program separately. Job Access With Speech (JAWS) is currently the most

   popular, separately purchased and downloaded screen-reading software program available for

   a Windows computer.

20. For screen-reading software to function, the information on a website must be capable of being

   rendered into text. If the website content is not capable of being rendered into text, the blind

   or visually-impaired user is unable to access the same content available to sighted users.

21. The international website standards organization, the World Wide Web Consortium, known

   throughout the world as W3C, has published version 2.0 of the Web Content Accessibility

   Guidelines (WCAG 2.0). WCAG 2.0 are well-established guidelines for making websites

   accessible to blind and visually-impaired people. These guidelines are universally followed by

   most large business entities and government agencies to ensure their websites are accessible.

   Many Courts have also established WCAG 2.0 as the standard guideline for accessibility.

22. Noncompliant websites pose common access barriers to blind and visually-impaired persons.

   Common barriers encountered by blind and visually impaired persons include, but are not

   limited to, the following: a text equivalent for every non-text element is not provided; title

   frames with text are not provided for identification and navigation; equivalent text is not

   provided when using scripts; forms with the same information and functionality as for sighted

   persons are not provided; information about the meaning and structure of content is not

   conveyed by more than the visual presentation of content; text cannot be resized without

   assistive technology up to 200% without losing content or functionality; if the content enforces

   a time limit, the user is not able to extend, adjust or disable it; web pages do not have titles that

   describe the topic or purpose; the purpose of each link cannot be determined from the link text

   alone or from the link text and its programmatically determined link context; one or more




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   keyboard operable user interface lacks a mode of operation where the keyboard focus indicator

   is discernible; the default human language of each web page cannot be programmatically

   determined; when a component receives focus, it may initiate a change in context; changing

   the setting of a user interface component may automatically cause a change of context where

   the user has not been advised before using the component; labels or instructions are not

   provided when content requires user input, which include captcha prompts that require the user

   to verify that he or she is not a robot; in content which is implemented by using markup

   languages, elements do not have complete start and end tags, elements are not nested according

   to their specifications, elements may contain duplicate attributes and/or any IDs are not unique;

   inaccessible Portable Document Format (PDF) files; the name and role of all user interface

   elements cannot be programmatically determined; and items that can be set by the user cannot

   be programmatically set and/or notification of changes to these items is not available to user

   agents, including assistive technology.

                                   STATEMENT OF FACTS

Defendant’s Barriers on Its Website

23. The defendant’s website is offered to the public. The website offers features that should allow

   all consumers to access the goods and services that the defendant offers through their physical

   locations, including, but not limited to, features that allow consumers to find information about

   location addresses and hours, services offered and services available for online purchase.

24. It is, upon information and belief, the Defendant’s policy and practice to deny the plaintiff,

   along with other blind or visually-impaired users, access to the defendant’s website, and to

   therefore specifically deny the goods and services that are offered and are heavily integrated

   with the defendant’s locations. Due to the defendant’s failure and refusal to remove access



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   barriers to its website, the plaintiff and other visually-impaired persons have been and are still

   being denied equal access to the defendant’s locations and the numerous goods, services, and

   benefits offered to the public through the website.

25. The plaintiff is a visually-impaired and legally blind person, who cannot use a computer

   without the assistance of screen-reading software. The plaintiff is, however, a proficient JAWS

   screen-reader user and uses it to access the Internet. The plaintiff has visited the website on

   separate occasions using the JAWS screen-reader.

26. During the plaintiff’s visits to the website, the last occurring in November 2017, the plaintiff

   encountered multiple access barriers that denied the plaintiff full and equal access to the

   facilities, goods and services offered to the public and made available to the public; and that

   denied the plaintiff the full enjoyment of the facilities, goods, and services of the website, as

   well as to the facilities, goods, and services of the defendant’s locations in New York by being

   unable to learn more information about location addresses and hours, services offered and

   services available for online purchase.

27. While attempting to navigate the website, the plaintiff encountered multiple accessibility

   barriers for blind or visually-impaired people that include, but are not limited to: (1) Lack of

   alternative text (“alt-text”), or a text equivalent. Alt-text is an invisible code embedded beneath

   a graphical image on a website. Web accessibility requires that alt-text be coded with each

   picture so that screen-reading software can speak the alt-text where a sighted user sees pictures,

   which includes captcha prompts. Alt-text does not change the visual presentation, but instead a

   text box shows when the mouse moves over the picture. The lack of alt-text on these graphics

   prevents screen readers from accurately vocalizing a description of the graphics. As a result, the

   defendant’s visually-impaired customers are unable to determine what is on the website, look




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   for and learn more information about purchase of goods, including exclusive online sales,

   location addresses, and hours of operation. (2) Empty links that contain no text causing the

   function or purpose of the link to not be presented to the user. This can introduce confusion for

   keyboard and screen-reader users. (3) Redundant links where adjacent links go to the same URL

   address which results in additional navigation and repetition for keyboard and screen-reader

   users. (4) Linked images missing alt-text, which causes problems if an image within a link

   contains no text and that image does not provide alt-text. A screen reader then has no content to

   present the user as to the function of the link, including information contained in PDFs.

Defendant Must Remove Barriers to Its Website

28. Due to the inaccessibility of the defendant’s website, blind and visually-impaired customers

   such as the plaintiff, who need screen-readers, cannot fully and equally use or enjoy the

   facilities and services the defendant offers to the public on its website. The access barriers the

   plaintiff encountered have caused a denial of the plaintiff’s full and equal access in the past,

   and now deter the plaintiff on a regular basis from accessing the website.

29. These access barriers on the defendant’s website have deterred the plaintiff from visiting the

   defendant’s physical locations, and enjoying them equal to sighted individuals because: the

   plaintiff was unable to find the location and hours of operation of the defendant’s locations on

   its website, preventing the plaintiff from visiting the locations to view and purchase products

   and/or services. The plaintiff intends to visit the Defendant’s locations in the near future if the

   plaintiff could access the defendant’s website.

30. If the website was equally accessible to all, the plaintiff could independently navigate the

   website and complete a desired transaction, as sighted individuals do.




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31. The plaintiff, through the plaintiff’s attempts to use the website, has actual knowledge of the

   access barriers that make these services inaccessible and independently unusable by blind and

   visually-impaired people.

32. Because simple compliance with WCAG 2.0 would provide the plaintiff and other visually-

   impaired consumers with equal access to the website, the plaintiff alleges that the defendant

   engaged in acts of intentional discrimination, including, but not limited to, the following

   policies or practices: constructing and maintaining a website that is inaccessible to visually-

   impaired individuals, including the plaintiff; failing to construct and maintain a website that is

   sufficiently intuitive so as to be equally accessible to visually-impaired individuals, including

   the plaintiff; and failing to take actions to correct these access barriers in the face of substantial

   harm and discrimination to blind and visually-impaired consumers, such as the plaintiff, as a

   member of a protected class.

33. The Defendant therefore use standards, criteria or methods of administration that have the

   effect of discriminating or perpetuating the discrimination against others, as alleged herein.

34. The ADA expressly contemplates the injunctive relief that the plaintiff seeks in this action. In

   relevant part, the ADA requires:

       In the case of violations of … this title, injunctive relief shall include an order to

       alter facilities to make such facilities readily accessible to and usable by individuals

       with disabilities …. Where appropriate, injunctive relief shall also include requiring

       the … modification of a policy ….

42 U.S.C. § 12188(a)(2).

35. Because the defendant’s website has never been equally accessible, and because the defendant

   lacks a corporate policy that is reasonably calculated to cause the defendant’s website to




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   become and remain accessible, the plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a

   permanent injunction requiring the defendant to retain a qualified consultant acceptable to the

   plaintiff to assist the defendant to comply with WCAG 2.0 guidelines for the defendant’s

   website. The website must be accessible for individuals with disabilities who use desktop

   computers, laptops, tablets, and smartphones. The plaintiff seeks that this permanent injunction

   require the defendant to cooperate with the agreed-upon consultant to: train the defendant’s

   employees and agents who develop the website on accessibility compliance under the WCAG

   2.0 guidelines; regularly check the accessibility of the website under the WCAG 2.0 guidelines;

   regularly test user accessibility by blind or vision-impaired persons to ensure that the

   defendant’s website complies under the WCAG 2.0 guidelines; and develop an accessibility

   policy that is clearly disclosed on the defendant’s website, with contact information for users

   to report accessibility-related problems and require that any third-party vendors who

   participate on the defendant’s website to be fully accessible to the disabled by conforming with

   WCAG 2.0.

36. If the defendant’s website were accessible, the plaintiff and similarly situated blind and

   visually-impaired people could independently access information about location addresses and

   hours, services offered and services available for online purchase.

37. Although the defendant may currently have centralized policies regarding maintaining and

   operating the defendant’s website, the defendant lacks a plan and policy reasonably calculated

   to make the defendant’s website fully and equally accessible to, and independently usable by,

   blind and other visually-impaired consumers.

38. The defendant has, upon information and belief, invested substantial sums in developing and

   maintaining the defendant’s website and the defendant has generated significant revenue from




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    the defendant’s website. These amounts are far greater than the associated cost of making the

    defendant’s website equally accessible to visually impaired customers.

39. Without injunctive relief, the plaintiff and other visually-impaired consumers will continue to

    be unable to independently use the defendant’s website, violating their rights.

                                CLASS ACTION ALLEGATIONS

40. The plaintiff, on behalf of herself and all others similarly situated, seeks to certify a nationwide

    class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United States

    who have attempted to access the defendant’s website and as a result have been denied access

    to the equal enjoyment of goods and services offered in the defendant’s physical locations,

    during the relevant statutory period.

41. The plaintiff, on behalf of herself and all others similarly situated, seeks to certify a New York

    State subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the State

    of New York who have attempted to access the defendant’s website and as a result have been

    denied access to the equal enjoyment of goods and services offered in the defendant’s physical

    locations, during the relevant statutory period.

42. The plaintiff, on behalf of herself and all others similarly situated, seeks to certify a New York

    City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City

    of New York who have attempted to access the defendant’s website and as a result have been

    denied access to the equal enjoyment of goods and services offered in the defendant’s physical

    locations, during the relevant statutory period.

43. Common questions of law and fact exist among the class, including: whether the defendant’s

    website is a “public accommodation” under the ADA; whether the defendant’s website is a

    “place or provider of public accommodation” under the NYSHRL or NYCHRL; whether the



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   defendant’s website denies the full and equal enjoyment of its goods, services, facilities,

   privileges, advantages, or accommodations to people with visual disabilities, violating the

   ADA; and whether the defendant’s website denies the full and equal enjoyment of its goods,

   services, facilities, privileges, advantages, or accommodations to people with visual

   disabilities, violating the NYSHRL or NYCHRL.

44. The plaintiff’s claims are typical of the class. The class, similarly to the plaintiff, are severely

   visually impaired or otherwise blind, and claim that the defendant violated the ADA,

   NYSHRL, and NYCHRL by failing to update or remove access barriers on the defendant’s

   website so it can be independently accessible to the class.

45. The plaintiff will fairly and adequately represent and protect the interests of the class because

   the plaintiff has retained and is represented by counsel competent and experienced in complex

   class action litigation, and because the plaintiff has no interests antagonistic to the class. Class

   certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because the defendant

   has acted or refused to act on grounds generally applicable to the class, making appropriate

   both declaratory and injunctive relief with respect to the plaintiff and the class as a whole.

46. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because fact and

   legal questions common to the class predominate over questions affecting only individual class

   members, and because a class action is superior to other available methods for the fair and

   efficient adjudication of this litigation.

47. Judicial economy will be served by maintaining this lawsuit as a class action in that it is likely

   to avoid the burden that would be otherwise placed upon the judicial system by the filing of

   numerous similar suits by people with visual disabilities throughout the United States.




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                                  FIRST CAUSE OF ACTION
                                           ADA

48. The plaintiff, on behalf of the plaintiff and the class, repeats and realleges every allegation of

   the preceding paragraphs as if fully set forth herein.

49. Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101, et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and

       equal enjoyment of the goods, services, facilities, privileges, advantages, or

       accommodations of any place of public accommodation by any person who owns,

       leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).

50. The defendant’s locations are public accommodations within the definition of Title III of the

   ADA, 42 U.S.C. § 12181(7). the defendant’s website is a service, privilege, or advantage of

   the defendant’s locations. The defendant’s website is a service that is heavily integrated with

   these locations and is a gateway thereto.

51. Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

   individuals with disabilities the opportunity to participate in or benefit from the goods,

   services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

   12182(b)(1)(A)(i).

52. Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

   individuals with disabilities an opportunity to participate in or benefit from the goods, services,

   facilities, privileges, advantages, or accommodation, which is equal to the opportunities

   afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

53. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes, among

   other things:



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       [A] failure to make reasonable modifications in policies, practices, or procedures,

       when such modifications are necessary to afford such goods, services, facilities,

       privileges, advantages, or accommodations to individuals with disabilities, unless

       the entity can demonstrate that making such modifications would fundamentally

       alter the nature of such goods, services, facilities, privileges, advantages or

       accommodations; and a failure to take such steps as may be necessary to ensure that

       no individual with a disability is excluded, denied services, segregated or otherwise

       treated differently than other individuals because of the absence of auxiliary aids

       and services, unless the entity can demonstrate that taking such steps would

       fundamentally alter the nature of the good, service, facility, privilege, advantage, or

       accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

54. The acts alleged herein constitute violations of Title III of the ADA, and the regulations

   promulgated thereunder. The plaintiff, who is a member of a protected class of persons under

   the ADA, has a physical disability that substantially limits the major life activity of sight within

   the meaning of 42 U.S.C. §§ 12102(1)(A)–(2)(A). Furthermore, the plaintiff has been denied

   full and equal access to the website, has not been provided services that are provided to other

   patrons who are not disabled, and has been provided services that are inferior to the services

   provided to non-disabled persons. The defendant failed to take any prompt and equitable steps

   to remedy its discriminatory conduct. These violations are ongoing.

55. Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

   therein, the plaintiff, requests relief as set forth below.




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                                SECOND CAUSE OF ACTION
                                       NYSHRL

56. The plaintiff, on behalf of the plaintiff and the New York State sub-class, repeats and realleges

   every allegation of the preceding paragraphs as if fully set forth herein.

57. N.Y. Exec. Law § 296(2)(a) provides that it is an unlawful discriminatory practice for any

   person, being the owner, lessee, proprietor, manager, superintendent, agent or employee of any

   place of public accommodation … because of the … disability of any person, directly or

   indirectly, to refuse, withhold from or deny to such person any of the accommodations,

   advantages, facilities or privileges thereof.

58. The defendant’s physical locations are located in State of New York and throughout the United

   States and constitute sales establishments and public accommodations within the definition of

   N.Y. Exec. Law § 292(9). The defendant’s website is a service, privilege or advantage of the

   defendant. The defendant’s website is a service that is heavily integrated with these physical

   locations and is a gateway thereto.

59. The defendant is subject to the NYSHRL because they own and operate their physical locations

   and website. The defendant is persons within the meaning of N.Y. Exec. Law § 292(1).

60. The defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access

   barriers to its website, causing its website and the services integrated with the defendant’s

   physical locations to be completely inaccessible to the blind. This inaccessibility denies blind

   patrons full and equal access to the facilities, goods and services that the defendant makes

   available to the non-disabled public.

61. Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice includes, among other

   things, a refusal to make reasonable modifications in policies, practices, or procedures, when

   such modifications are necessary to afford facilities, privileges, advantages or accommodations



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   to individuals with disabilities, unless such person can demonstrate that making such

   modifications would fundamentally alter the nature of such facilities, privileges, advantages or

   accommodations being offered or would result in an undue burden.

62. Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice also includes, a refusal

   to take such steps as may be necessary to ensure that no individual with a disability is excluded

   or denied services because of the absence of auxiliary aids and services, unless such person

   can demonstrate that taking such steps would fundamentally alter the nature of the facility,

   privilege, advantage or accommodation being offered or would result in an undue burden.

63. Readily available, well-established guidelines exist on the Internet for making websites

   accessible to the blind and visually impaired. These guidelines have been followed by other

   large business entities and government agencies in making their website accessible, including

   but not limited to: adding alt-text to graphics and ensuring that all functions can be performed

   using a keyboard. Incorporating the basic components to make its website accessible would

   neither fundamentally alter the nature of the defendant’s business nor result in an undue burden

   to the defendant.

64. The defendant’s actions constitute willful intentional discrimination against the class on the

   basis of a disability in violation of the NYSHRL, N.Y. Exec. Law § 296(2), in that the

   defendant has: constructed and maintained a website that is inaccessible to blind class members

   with knowledge of the discrimination; and/or constructed and maintained a website that is

   sufficiently intuitive and/or obvious that is inaccessible to blind class members; and/or failed

   to take actions to correct these access barriers in the face of substantial harm and discrimination

   to blind class members.




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65. The defendant has failed to take any prompt and equitable steps to remedy their discriminatory

   conduct. These violations are ongoing.

66. The defendant discriminates, and will continue to discriminate against the plaintiff and the

   New York State sub-class on the basis of disability in the full and equal enjoyment of the goods,

   services, facilities, privileges, advantages, accommodations and/or opportunities of the

   defendant’s website and its physical locations under § 296(2), et seq., and/or its implementing

   regulations. Unless the Court enjoins the defendant from continuing to engage in these

   unlawful practices, the plaintiff and the New York State sub-class will continue to suffer

   irreparable harm.

67. The defendant’s actions were and are in violation of NYSHRL and therefore the plaintiff and

   the New York State sub-class invoke their right to injunctive relief to remedy the discrimination.

68. The plaintiff and the New York State sub-class are also entitled to compensatory damages, and

   civil penalties and fines under N.Y. Exec. Law § 297(4)(c), et seq., for each and every offense.

69. The plaintiff and the New York State sub-class are also entitled to reasonable attorney’s fees

   and costs.

70. Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and incorporated

   therein, the plaintiff and the New York State sub-class pray for judgment as set forth below.

                                  THIRD CAUSE OF ACTION
                                         NYSCRL

71. The plaintiff, on behalf of the plaintiff and the New York State sub-class, repeats and realleges

   every allegation of the preceding paragraphs as if fully set forth herein.

72. The plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights

   Law § 41.




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73. N.Y. Civil Rights Law § 40 provides that all persons within the jurisdiction of this state shall

   be entitled to the full and equal accommodations, advantages, facilities and privileges of any

   places of public accommodations, resort or amusement, subject only to the conditions and

   limitations established by law and applicable alike to all persons. No persons, being the owner,

   lessee, proprietor, manager, superintendent, agent, or employee of any such place shall directly

   or indirectly refuse, withhold from, or deny to any person any of the accommodations,

   advantages, facilities and privileges thereof ….

74. N.Y. Civil Rights Law § 40-c(2) provides that no person because of … disability, as such term

   is defined in section two hundred ninety-two of executive law, be subjected to any

   discrimination in his or her civil rights, or to any harassment, as defined in section 240.25 of

   the penal law, in the exercise thereof, by any other person or by any firm, corporation or

   institution, or by the state or any agency or subdivision.

75. The defendant’s New York physical locations are sales establishments and public

   accommodations within the definition of N.Y. Civil Rights Law § 40-c(2). The defendant’s

   website is a service, privilege or advantage of the defendant and the defendant’s website is a

   service that is heavily integrated with these establishments and is a gateway thereto.

76. The defendant is subject to NYSCRL because it owns and operates the defendant’s physical

   locations and website. The defendant is persons within the meaning of N.Y. Civil Rights Law

   § 40-c(2).

77. The defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove

   access barriers to the defendant’s website, causing the defendant’s website and the services

   integrated with the defendant’s physical locations to be completely inaccessible to the blind.




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   This inaccessibility denies blind patrons full and equal access to the facilities, goods and

   services that the defendant makes available to the non-disabled public.

78. N.Y. Civil Rights Law § 41 states any corporation which shall violate any of the provisions of

   sections forty, forty-a, forty-b or forty-two … shall for each and every violation thereof be

   liable to a penalty of not less than one hundred dollars nor more than five hundred dollars, to

   be recovered by the person aggrieved thereby.

79. Under N.Y. Civil Rights Law § 40-d, any person who shall violate any of the provisions of the

   foregoing section, or subdivision three of section 240.30 or section 240.31 of the penal law, or

   who shall aid or incite the violation of any of said provisions shall for each and every violation

   thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred

   dollars, to be recovered by the person aggrieved thereby in any court of competent jurisdiction

   in the county in which the defendant shall reside.

80. The defendant has failed to take any prompt and equitable steps to remedy its discriminatory

   conduct. These violations are ongoing.

81. The defendant discriminated, and will continue to discriminate, against the plaintiff and the

   New York State sub-class on the basis of disability and the plaintiff and the New York State

   sub-class are being directly or indirectly refused, withheld from, or denied the

   accommodations, advantages, facilities and privileges thereof in § 40, et seq., and/or its

   implementing regulations.

82. The plaintiff and the New York State sub-class are entitled to compensatory damages of five

   hundred dollars per instance, as well as civil penalties and fines under N.Y. Civil Rights Law

   § 40, et seq., for each and every offense.




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                                FOURTH CAUSE OF ACTION
                                       NYCHRL

83. The plaintiff, on behalf of the plaintiff and the New York City sub-class, repeats and realleges

   every allegation of the preceding paragraphs as if fully set forth herein.

84. N.Y.C. Administrative Code § 8-107(4)(a) provides that, It shall be an unlawful discriminatory

   practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

   employee of any place or provider of public accommodation, because of … disability …

   directly or indirectly, to refuse, withhold from or deny to such person, any of the

   accommodations, advantages, facilities or privileges thereof.

85. The defendant’s locations are sales establishments and public accommodations within the

   definition of N.Y.C. Administrative Code § 8-102(9), and their website is a service that is

   heavily integrated with its establishments and is a gateway thereto.

86. The defendant is subject to NYCHRL because they own and operate its physical locations in

   the City of New York and their website, making them persons within the meaning of N.Y.C.

   Administrative Code § 8-102(1).

87. The defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or

   remove access barriers to website, causing its website and the services integrated with its

   physical locations to be completely inaccessible to the blind. This inaccessibility denies blind

   patrons full and equal access to the facilities, goods, and services that the defendant makes

   available to the non-disabled public.

88. The defendant is required to make reasonable accommodation to the needs of persons with

   disabilities … any person prohibited by the provisions of [§ 8-107, et seq.,] from discriminating

   on the basis of disability shall make reasonable accommodation to enable a person with a




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   disability to … enjoy the right or rights in question provided that the disability is known or

   should have been known by the covered entity.

N.Y.C. Admin. Code § 8-107(15)(a).

89. The defendant’s actions constitute willful intentional discrimination against the New York sub-

   class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a)

   and § 8-107(15)(a) in that the defendant has: constructed and maintained a website that is

   inaccessible to blind class members with knowledge of the discrimination; constructed and

   maintained a website that is sufficiently intuitive and/or obvious that is inaccessible to blind

   class members; and/or failed to take actions to correct these access barriers in the face of

   substantial harm and discrimination to blind class members.

90. The defendant has failed to take any prompt and equitable steps to remedy their discriminatory

   conduct. These violations are ongoing.

91. As such, the defendant discriminated, and will continue to discriminate, against the plaintiff

   and the New York City subclass on the basis of disability in the full and equal enjoyment of

   the goods, services, facilities, privileges, advantages, accommodations and/or opportunities of

   the defendant’s website and establishments under § 8-107(4)(a) and/or its implementing

   regulations. Unless the Court enjoins the defendant from continuing to engage in these

   unlawful practices, the plaintiff and the New York City subclass will continue to suffer

   irreparable harm.

92. The defendant’s actions were and are in violation of the NYCHRL and therefore the plaintiff and

   the New York City subclass invokes their right to injunctive relief to remedy the discrimination.




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93. The plaintiff and the New York City subclass are also entitled to compensatory damages, as

   well as civil penalties and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a)

   for each offense.

94. The plaintiff and the New York City subclass are also entitled to reasonable attorney’s fees and

   costs.

95. Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies, procedures, and

   rights set forth and incorporated therein the plaintiff and the New York City subclass pray for

   judgment as set forth below.

                                  FIFTH CAUSE OF ACTION
                                   DECLARATORY RELIEF

96. The plaintiff, on behalf of herself and the class, repeats and realleges every allegation of the

   preceding paragraphs as if fully set forth herein.

97. An actual controversy has arisen and now exists between the parties in that the plaintiff

   contends, and is informed and believes that the defendant denies, that the defendant’s website

   contains access barriers denying blind customers the full and equal access to the goods,

   services, and facilities of its website and by extension its physical locations, which the

   defendant own(s), operate(s) and control(s), and fails to comply with applicable laws including,

   but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

   N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq., prohibiting

   discrimination against the blind.

98. A judicial declaration is necessary and appropriate at this time in order that each of the parties

   may know their respective rights and duties and act accordingly.




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                                     PRAYER FOR RELIEF

99. Wherefore, the plaintiff prays this Court grant as relief:

               a.    A preliminary and permanent injunction to prohibit the defendant from

           violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

           Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New

           York;

               b.    A preliminary and permanent injunction requiring the defendant to take all

           the steps necessary to make its website into full compliance with the requirements set

           forth in the ADA, and its implementing regulations, so that the website is readily

           accessible to and usable by blind individuals;

               c.    A declaration that the defendant owns, maintain and/or operate the

           defendant’s website in a manner that discriminates against the blind and which fails to

           provide access for persons with disabilities as required by Americans with Disabilities

           Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C. Administrative

           Code § 8-107, et seq., and the laws of New York;

               d.    An order certifying the class and sub-classes under Fed. R. Civ. P. 23(a) &

           (b)(2) and/or (b)(3), appointing the plaintiff as class representative, and her attorneys

           as class counsel;

               e.    Compensatory damages in an amount to be determined by proof, including

           all applicable statutory and punitive damages and fines, to the plaintiff and the proposed

           subclasses for violations of their rights under the NYSHRL, NYSCRL, and NYCHRL;

               f.    Pre- and post-judgment interest;

               g.    An award of costs and expenses of this action together with reasonable

           attorneys’ and expert fees; and


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               h.    Such other and further relief as this Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the plaintiff demands a trial

by jury on all questions of fact raised by the complaint.

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Dated: Brooklyn, New York
       December 31, 2017




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